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1    HOWARD B. GROBSTEIN, CPA
     Grobstein Teeple, LLP
2    6300 Canoga Avenue, Suite 1500W
3    Woodland Hills, California 91367
     Telephone: (818) 532-1020
4    Facsimile: (818) 532-1120
     Email: hgrobstein@gtllp.com, documents@gtllp.com
5
6    Accountants for Meade Instruments Corp.,
     Chapter 11 Debtor and Debtor in Possession
7
8                               UNITED STATES BANKRUPTCY COURT

9                   CENTRAL DISTRICT OF CALIFORNIA – SANTA ANA DIVISION
      In re:                                 Case No.: 8:19-bk-14714-MW
10
11    MEADE INSTRUMENTS CORP., A                       Chapter 11
      DELAWARE CORPORATION,
12                                                    SECOND INTERIM APPLICATION FOR
                                                      COMPENSATION AND
13                                                    REIMBURSEMENT OF EXPENSES OF
14                                                    GROBSTEIN TEEPLE, LLP AS
                                                      ACCOUNTANTS FOR THE CHAPTER 11
15                                                    DEBTOR; DECLARATIONS OF HOWARD
                     Debtor and Debtor-in-Possession. B. GROBSTEIN AND DEBTOR IN
16                                                    SUPPORT THEREOF
17
                                                       Hearing:
18                                                     Date: September 21, 2020
                                                       Time: 2:00 p.m.
19                                                     Place: Courtroom 5C
20                                                            411 West 4th Street
                                                              Santa Ana, CA 92701
21
22   TO THE HONORABLE MARK WALLACE, UNITED STATES BANKRUPTCY JUDGE:
23             GROBSTEIN TEEPLE LLP (“Applicant” or “GT” or the “Firm”), accountants for the Chapter

24   11 Debtor and Debtor in Possession, Meade Instruments Corp., (the “Debtor”) in the above-referenced

25   case, represents the following in support of this Second Interim Application for Compensation and

26   Reimbursement of Expenses of Grobstein Teeple LLP (“Application”). The Application requests a

27   total of $8,163.00 for fees and $0.00 for expenses incurred during the period from April 1, 2020

28   through and including July 31, 2020 (the “Application Period”).




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1                                                       I.
2                      PRELIMINARY SUMMARY OF COMPENSATION DATA
3    1.     Applicant: GROBSTEIN TEEPLE LLP
4    2.     Application Period: April 1, 2020 through July 31, 2020
5    3.     Date of Entry of Order Authorizing Employment: February 3, 2020
6    4.     Date Services Commenced: December 5, 2019
7    5.     Dates of Prior Fee Hearings: April 29, 2020
8    6.     Advance Fee Payment Received: $10,000.00 (Retainer)
9    7.     Advance Fee Payment Remaining: $0.00
10   8.     Fees Paid Pursuant to Prior Fee Applications: $28,096.00 (including Retainer)
11   9.     Expenses Paid Pursuant to Prior Fee Applications: $48.72
12   10.    Amount Remaining to be Paid to Pursuant to Prior Applications: $0.00
13   11.    Amount Reserved Pending Final Fee Application: $0.00
14   12.    Total Amount of Fees Requested for this Application Period: $8,163.00
15   13.    Total Amount of Expenses Requested for this Application Period: $0.00
16   14.    Cash on hand: Approximately $2.1M
17                                                      II.
18                                             INTRODUCTION

19          1.      This Application is filed in accordance with Section 330 of the United States

20   Bankruptcy Code, Local Bankruptcy Rule 2016(1), and the Guidelines of the Office of the United

21   States Trustee for the Central District of California (the “Guidelines”).

22          2.      On December 4, 2019, the Debtor filed a voluntary petition under Chapter 11 of Title

23   11 of the United States Code (the “Petition Date”). Since December 4, 2019 (the “Petition Date”), the

24   Debtor has been operating its business and managing its financial affairs as a debtor-in-possession

25   pursuant to Sections 1107 and 1108 of the Bankruptcy Code.

26          3.      Pursuant to the order entered authorizing the employment of GT as accountants,

27   Applicant began work on December 5, 2019.

28          4.      Applicant was employed to provide accounting related assistance including: assistance




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1    with short-term cash management procedures and liquidity forecasting, including the development
2    and management of a 13-week budget; updating, monitoring and reporting actual activity vs. forecast
3    and with other reporting that may be required by the Debtor’s lenders or other parties-in-interest;
4    assistance with the preparation of financial and other information required by the Bankruptcy Court
5    and the Office of the United States Trustee; assistance with the preparation of other financial
6    information to be used in the case on behalf of the Debtor; assistance with or preparation of tax returns
7    and any tax issues that may arise; assistance with the bankruptcy process and the timely preparation
8    of a plan of reorganization; forensic accounting as required; valuation services; and engagement in
9    such other financial advisory activities as requested by the Debtor.
10          5.      This is Applicant’s Second Interim application in connection with this case. Applicant
11   seeks approval of compensation for the periods April 1, 2020, through July 31, 2020. The requested
12   amount of compensation is based upon a total of 28.4 hours of accounting services, resulting in fees
13   totaling $8,163.00. Applicant is requesting expenses in the amount of $0.00. The Debtor is currently
14   holding approximately $2.1M cash on hand.
15          6.      The professional services which are the subject of this Application were rendered by
16   the Applicant in connection with providing services for the benefit of the estate and not for any other
17   entity. All of the expenses which are the subject of this Application were incurred by Applicant in
18   connection with providing services for the benefit of the estate.
19          7.      Applicant maintains time records of professionals and support personnel on a
20   contemporaneous basis. Such time records are prepared by the professionals who have rendered the
21   services.
22          8.      Exhibit “A” provides a grand total of fees by subject area incurred during the period.
23          9.      A summary of the hours of professional time expended by each professional for the
24   Applicant is attached as Exhibit “B”. The hourly rates in Exhibit “B”, as well as those reported in
25   Exhibit “C”, reflect the rates in effect on the dates those services were performed. Therefore, certain
26   professionals may reflect multiple rates if there were rate adjustments during the period.
27          10.     Attached hereto as Exhibit “C” and incorporated herein by this reference is a
28   statement detailing the services and expenses rendered by the Applicant for the period December 4,




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1    2019 through March 31, 2020. Exhibit “C” is transcribed from the Applicant’s contemporaneous
2    time records, and shows the professional services rendered, the date the services were performed, the
3    person performing the service and the amount of time incurred. Exhibit “C” categorizes the
4    professional fees by subject work areas.
5           11.     Applicant has no agreement or understanding for a division of fees between
6    Applicant and any other party or parties involved in this matter. No retainer or advance fee payment
7    has been received by Applicant and Applicant has not received, nor intends to receive, a lien or any
8    other interest in the property of the Debtor or any other third party to secure payments of Applicant’s
9    fees. Applicant is aware of the risk that there may be insufficient assets from which it may be
10   compensated.
11          12.     Attached as Exhibit “D” is biographical information concerning the professionals
12   providing services during the period covered by this Application.
13                                                     III.
14          SUMMARY OF PROFESSIONAL SERVICES PERFORMED BY APPLICANT
15   Accounting Services
16          13.     Applicant was engaged by the Debtor and Debtor-in-Possession to provide consulting
17   services which included evaluating books and records, gathering and analyzing available documents
18   and electronic data, interviewing parties to the matter, and performing financial and other analyses.
19          14.     Applicant has prepared four monthly operating reports for the Debtor during the
20   Application Period. For each report Applicant reviewed the banking activity, input approximately
21   70 - 80 transactions, reviewed support or purpose of activity, and any additional documents
22   supporting financial transactions of the Debtor for the month. The Applicant also updates the income
23   and expense and balance sheet based on information received from the Debtor. Applicant compiled
24   the monthly reports and prepared for review with the Debtor.
25          15.     During the Second Interim fee application period, Applicant incurred 24.70 hours of
26   accounting services, resulting in fees totaling $7,039.50, and costs of $0.00. This results in a
27   blended hourly rate of $285.00.
28




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 1                               DECLARATION OF VICTOR ANICETO

 2
            I, VICTOR ANICETO, declare as follows:
 3
            1. I am the President of the Chapter 11 Debtor, Meade Instrument Corporation.
 4
            2. I have personal knowledge of the within stated facts.
 5
            3. I have reviewed the Second Interim Application for Compensation and Reimbursement of
 6
                Expenses of Grobstein Teeple LLP as Accountants for the Chapter 11 Debtor in Possession
 7
                and have no objections to it.
 8
 9
            I declare under penalty of perjury that the foregoing is true and correct.
10
11
                               4
            Executed on August ____,         Fullerton
                                     2020 at ____________________, California.
12
13
14
                                                          _______________________
15
                                                                  Victor Aniceto
16
17
18
19
20
21
22
23
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25
26
27
28




     Meade Instruments Corp.                                                   8:19-bk-14714-CB
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                        EXHIBIT A
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Grobstein Teeple, LLP
23832 Rockﬁeld Boulevard, Suite 245
Lake Forest, California 92630
949-298-6620




                                                     Meade Instruments Corp
                                       Summary of Professional Fees and Expenses
                                Fee Application Period: April 1, 2020 through July 31, 2020


       Category of Work
                  001 - Accounting Services                                               24.70   $7,039.50
                  009 - Fee/Employment Application                                         3.70   $1,123.50
                                                     Total Professional Fees              28.40   $8,163.00


                                                           Total Professional Fees and Expenses   $8,163.00




                                                   Please mail payments to:
                                                     Grobstein Teeple, LLP
                                              23832 Rockﬁeld Boulevard, Suite 245
                                                 Lake Forest, California 92630


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                        EXHIBIT B
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Grobstein Teeple, LLP
23832 Rockﬁeld Boulevard, Suite 245
Lake Forest, California 92630
949-298-6620




 Meade Instruments Corp
 001070                                                                             Invoice
 27 Hubble                                                                          Invoice Date:    08/04/2020
 Irvine, California 92618                                                           Billing Through: 07/31/2020


IN RE: Meade Instruments Corp




 Professional Fees by Employee

 Fee Application Period: April 1, 2020 - July 31, 2020


 Employee                                                             Rate             Hours                 Amount

 Cory L Zera                                                       $125.00               0.80                $100.00
 Dimple P Mehra                                                    $285.00             26.00                $7,410.00
 Howard B Grobstein                                                $505.00               0.60                $303.00
 William W Thomsen                                                 $350.00               1.00                $350.00
 Totals                                                                                28.40                $8,163.00




                                                   Please mail payments to:
                                                     Grobstein Teeple, LLP
                                              23832 Rockﬁeld Boulevard, Suite 245
                                                 Lake Forest, California 92630


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Lake Forest, California 92630
949-298-6620




 Meade Instruments Corp
 001070                                                                              Invoice
 27 Hubble                                                                           Invoice Date:    08/04/2020
 Irvine, California 92618                                                            Billing Through: 07/31/2020


IN RE: Meade Instruments Corp




Professional Services:


 Date          Employee               Description                                     Rate     Hours          Amount

 001 - Accounting Services
 04/06/2020    Dimple P Mehra         Draft March MOR. Emails with S. Roe re       $285.00       3.50         $997.50
                                      information and ﬁnancials still needed
                                      for MOR. Call with counsel re deadlines.
 04/15/2020    Dimple P Mehra         Finalize MOR with ﬁnancial statements        $285.00       1.50         $427.50
                                      and additional information received
                                      from S. Roe. Send to S. Roe and V.
                                      Aniceto for review and signature.
 04/20/2020    Dimple P Mehra         Respond to UST email re MOR.                 $285.00       0.20          $57.00
 04/22/2020    Dimple P Mehra         Emails with S. Roe re UST statement for      $285.00       0.50         $142.50
                                      fees. Emails with UST analyst re
                                      calculation of fees. Review of
                                      disbursement A/R received from UST
                                      and email information to S. Roe.
 04/23/2020    Dimple P Mehra         Respond to emails from counsel re            $285.00       0.50         $142.50
                                      MOR summaries. Prepare MOR
                                      summaries and email to UST.
 04/24/2020    Dimple P Mehra         Review email from UST regarding fees         $285.00       0.10          $28.50
                                      and forward to Debtor.
 04/24/2020    Dimple P Mehra         Review of 13-week projections                $285.00       0.40         $114.00
                                      prepared by Debtor, email comments
                                      to counsel, and call with counsel re
                                      same.
 05/05/2020    Dimple P Mehra         Start draft of April MOR.                    $285.00       0.50         $142.50
 05/11/2020    Dimple P Mehra         Continue with preparation of monthly         $285.00       2.00         $570.00
                                      operating report draft.
 05/12/2020    Dimple P Mehra         Finish draft of monthly operating            $285.00       3.80        $1,083.00
                                      report and send to Debtor for input of
                                      additional information (3.5). Call with S.
                                      Roe re balance sheet adjustments (.3).
 05/13/2020    Dimple P Mehra         Finalilze MOR and send to V. Aniceto for     $285.00       0.50         $142.50
                                      reviw and signature.



                                             Please mail payments to:
                                               Grobstein Teeple, LLP
                                        23832 Rockﬁeld Boulevard, Suite 245
                                           Lake Forest, California 92630


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23832 Rockﬁeld Boulevard, Suite 245
Lake Forest, California 92630
949-298-6620




 Meade Instruments Corp
 001070                                                                                Invoice
 27 Hubble                                                                             Invoice Date:    08/04/2020
 Irvine, California 92618                                                              Billing Through: 07/31/2020


IN RE: Meade Instruments Corp




 Date          Employee               Description                                       Rate     Hours          Amount

 05/13/2020    Dimple P Mehra         Call with S. roe regarding MOR                 $285.00       0.20          $57.00
 05/13/2020    Dimple P Mehra         Emails with counsel and Debtor                 $285.00       0.20          $57.00
                                      regarding transactions in MOR.
 05/14/2020    Dimple P Mehra         Prepare and email MOR summary to               $285.00       0.20          $57.00
                                      UST.
 06/02/2020    Dimple P Mehra         Emails and call with S. Roe re                 $285.00       0.50         $142.50
                                      accounting matter.
 06/08/2020    Dimple P Mehra         Prepare draft of May monthly                   $285.00       4.00        $1,140.00
                                      operating report.
 06/12/2020    Dimple P Mehra         Finalize May MOR and send to Debtor            $285.00       1.50         $427.50
                                      for signature.
 07/06/2020    Dimple P Mehra         Draft June MOR and send to S. Roe for          $285.00       3.60        $1,026.00
                                      additional information and request
                                      proﬁt and loss statement and balance
                                      sheet.
 07/14/2020    Dimple P Mehra         Update June MOR with ﬁnancial                  $285.00       1.00         $285.00
                                      information and ﬁnalize.
                                                          001 - Accounting Services Total:        24.70       $7,039.50

 009 - Fee/Employment Application
 04/01/2020    Dimple P Mehra         Review and edit draft of fee application.      $285.00       0.50         $142.50
 04/03/2020    Cory L Zera            Finalize, File and Mail First Interim Fee      $125.00       0.80         $100.00
                                      Application
 04/03/2020    William W Thomsen      Fee application documentation                  $350.00       1.00         $350.00
 04/06/2020    Howard B Grobstein     Fee application issues and preparation         $505.00       0.60         $303.00
 04/29/2020    Dimple P Mehra         Attend interim fee application hearing         $285.00       0.80         $228.00
                                      via CourtCall; prepare order for
                                      submission to Court; Forward entered
                                      order to Debtor for payment and
                                      accounting.
                                                009 - Fee/Employment Application Total:            3.70       $1,123.50




                                             Please mail payments to:
                                               Grobstein Teeple, LLP
                                        23832 Rockﬁeld Boulevard, Suite 245
                                           Lake Forest, California 92630

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Lake Forest, California 92630
949-298-6620




 Meade Instruments Corp
 001070                                                                               Invoice
 27 Hubble                                                                            Invoice Date:    08/04/2020
 Irvine, California 92618                                                             Billing Through: 07/31/2020


IN RE: Meade Instruments Corp




 Date          Employee               Description                                      Rate       Hours        Amount

                                                                Total Professional Fees:          28.40      $8,163.00




                                                                               Total Professional Fees:      $8,163.00

                                                                                       Total Expenses:              $0.00

                                                             Total Professional Fees and Expenses:           $8,163.00




                                             Please mail payments to:
                                               Grobstein Teeple, LLP
                                        23832 Rockﬁeld Boulevard, Suite 245
                                           Lake Forest, California 92630

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                        EXHIBIT D
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                                GROBSTEIN TEEPLE LLP
                                     FIRM BIOGRAPHIES



       HOWARD B. GROBSTEIN, CPA/CFF, CFE, California State University, Northridge

(B.S. - Accountancy) is a Partner in the firm. He has acted as a Chapter 7 and Chapter 11 Trustee

and Chapter 11 Examiner in the Central and Northern Districts of California. He has testified as

an expert witness in District, Bankruptcy and State court cases. Mr. Grobstein has conducted

numerous fraud investigations. He is a member of the Board of Directors and past Chair of the Los

Angeles/Orange County Chapter of the California Receiver’s Forum. He was President of the Los

Angeles Bankruptcy Forum for 2013. Mr. Grobstein was the Treasurer of the Los Angeles/Orange

County chapter of the Turnaround Management Association.

       DIMPLE MEHRA, CFE, University of Arizona (B.S. – Business Administration) and

University of Phoenix (M.S. – Accountancy) is a Senior Manager in the firm. Ms. Mehra has

experience in providing forensic accounting and analysis services in the public and private

sectors. She is a member of the Association of Certified Fraud Examiners.

       WILLIAM THOMSEN, CFA, ASA, Columbia University (M.B.A. - Finance), Pomona

College (B.A. - Economics) is a Director with the firm. Mr. Thomsen has over 25 years of

experience providing business valuations and economic analyses to various businesses. His

consulting expertise also includes economic damage assessment and expert testimony for

commercial and employment disputes. He has testified on numerous occasions regarding valuation

and economic damage issues and has qualified as an expert witness in U.S. District Court and

California Superior Court.

        CORY ZERA, University of California, San Diego, (B.A. -Visual Arts: Media) is an

 Executive Administrator with the firm.




Exhibit D                                                                                        1
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                                         PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

                                    6300 Canoga Avenue, Suite 1500W, Woodland Hills, CA 91367

A true and correct copy of the foregoing document entitled (specify): SECOND INTERIM APPLICATION FOR
COMPENSATION AND REIMBURSEMENT OF EXPENSES OF GROBSTEIN TEEPLE LLP AS ACCOUNTANTS FOR THE
CHAPTER 11 DEBTOR; DECLARATIONS OF HOWARD B. GROBSTEIN AND DEBTOR IN SUPPORT THEREOF will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On August 7,
2020, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

Claire K Wu                              ckwu@sulmeyerlaw.com,mviramontes@sulmeyerlaw.com; ckwu@ecf.courtdrive.com;
                                         ckwu@ecf.inforuptcy.com
Frank Cadigan                            frank.cadigan@usdoj.gov
Hamid R Rafatjoo                         hrafatjoo@raineslaw.com, bclark@raineslaw.com
Mark S Horoupian                         mhoroupian@sulmeyerlaw.com,mhoroupian@ecf.inforuptcy.com;
                                         ccaldwell@sulmeyerlaw.com
Matthew Borden                           borden@braunhagey.com, rosario@braunhagey.com; kushnir@braunhagey.com;
                                         verga@braunhagey.com; hagey@braunhagey.com; fisher@braunhagey.com;
                                         theodore@braunhagey.com; hasegawa@braunhagey.com; szoke@braunhagey.com;
                                         baker@braunhagey.com
Robert P Goe                             kmurphy@goeforlaw.com,rgoe@goeforlaw.com; goeforecf@gmail.com
United States Trustee (SA)               ustpregion16.sa.ecf@usdoj.gov

2. SERVED BY UNITED STATES MAIL:
On August 7, 2020, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will
be completed no later than 24 hours after the document is filed.

Debtor
Meade Instruments Corp.
27 Hubble
Irvine, CA 92618

                                                                                            Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date) _______________, I served
the following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

                                                                                            Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.


8/7/2020                 CORY ZERA                                                        /s/ CORY ZERA
Date                                         Printed Name                                      Signature




            This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                           F 9013-3.1.PROOF.SERVICE
